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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

    DR. OCHEOWELLE OKEKE,                                                   CIVIL ACTION
         Plaintiff

    VERSUS                                                                  NO. 20-450

    ADMINISTRATORS OF THE                                                   SECTION: “E”
    TULANE EDUCATIONAL FUND,
        Defendant


                            AMENDED SCHEDULING ORDER

       In its Order and Reasons entered on Friday, May 21, 2021,1 the Court stated it

would extend the deadline for filing dispositive motions with respect to Plaintiff’s

disparate impact race and sex discrimination claims.2 On June 4, 2021, Tulane filed a

“Supplemental Memorandum in Support of Motion for Summary Judgment.”3 This

pleading does not comply with the Court’s Order and Reasons.

       IT IS HEREBY ORDERED that Tulane file its Motion for Summary Judgment,

with an attached Statement of Undisputed Material Facts, with record citations, on

Plaintiff’s disparate impact race and sex discrimination claims by no later than

Wednesday, June 9, 2021 at 5:00 p.m. Plaintiff may file an opposition to Tulane’s

Motion for Summary Judgment by no later than Monday, June 14, 2021 at 5:00 p.m.

Tulane may file a reply in support of its motion by no later than Tuesday, June 15, 2021

at 5:00 p.m.

       The deadline for the pretrial order is extended to Tuesday, June 22, 2021 at

5:00 p.m. The pretrial conference will be held on Thursday, June 24, 2021 at 11:00

a.m.


1 R. Doc. 66 at 1 n1.
2 The deadline for non-evidentiary pretrial motions passed on December 22, 2020. R. Doc. 63.
3 R. Doc. 68.



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      The parties shall comply with the following pretrial deadlines:

Tulane’s Motion for Summary Judgment on              Filed and served no later than
Plaintiff’s disparate impact race and sex            Wednesday, June 9, 2021 at
discrimination                                       12:00 p.m.

Response in opposition to Tulane’s Motion for        Filed and served no later than
Summary Judgment on Plaintiff’s claims for           Monday, June 14, 2021 at 5:00
disparate impact race and sex discrimination         p.m.
Tulane is granted leave to file a reply in support   Filed and served no later than
of its motion                                        Tuesday, June 15, 2021 at 5:00
                                                     p.m.
Pretrial order                                       Filed by June 22, 2021 at 5:00
                                                     p.m.
Any exhibits to be used solely for
impeachment must be presented to the
Court for in camera review by this
deadline. See Section IX.10.b of the
pretrial notice
Pretrial conference                                  June 24, 2021 at 11:00 a.m.
Attended by lead attorney.
(See Local Rule 11.2)
Motions in limine (other than those regarding        Filed no later than June 25, 2021
the admissibility of expert testimony) and           at 5:00 p.m.
memoranda in support
Final list of witnesses to be called at trial        Filed no later than June 25, 2021
                                                     at 5:00 p.m.
Responses to motions in limine                       Filed by June 30, 2021 at 5:00
                                                     p.m.
Joint statement of the case                          Filed by July 2, 2021 at 5:00 p.m.
See pretrial notice at p. 8
Joint jury instruction (or if agreement cannot       Filed and emailed to the Court by
be reached, counsel shall provide alternate          July 2, 2021 at 5:00 p.m.
versions with respect to any instruction in
dispute, with its reasons for putting forth an
alternative instruction and the law in support
thereof
See pretrial notice at p. 9




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Joint proposed jury verdict form (or if           Filed by July 2, 2021 at 5:00 p.m.
agreement cannot be reached, separate
proposed jury verdict forms and a joint
memorandum explaining the disagreements
between the parties as to the verdict form)
See pretrial notice at p. 9
Proposed special voir dire questions              Filed by July 2, 2021 at 5:00 p.m.
See pretrial notice at p. 9
Two copies of joint bench book(s) of tabbed       Delivered to the Court by July 2,
exhibits, with indices of "objected-to" and       2021 at 5:00 p.m.
"unobjected-to" exhibits, identifying which
party will offer each exhibit and which witness
will testify regarding the exhibit at trial
See pretrial notice at pp. 5-6
Objections to exhibits and supporting             Filed by July 2, 2021 at 5:00 p.m.
memoranda
NOTE: Each objection must identify the
relevant objected-to exhibit by the number
assigned to the exhibit in the joint bench
book(s)
See pretrial notice at p. 5
Objections to deposition testimony and            Filed by July 2, 2021 at 5:00 p.m.
supporting memoranda
See pretrial notice at p. 6 with particular
attention to instructions regarding the
format of depositions
Responses to objections to exhibits               Filed by July 7, 2021 at 5:00 p.m.
See pretrial notice at p. 5
Responses to objections to deposition             Filed by July 7, 2021 at 5:00 p.m.
testimony
See pretrial notice at p. 6
If counsel intends to ask questions on cross-     The factual elements of such
examination of an economic expert which           questions shall be submitted to the
require mathematical calculations                 expert witness by July 7, 2021 at
                                                  5:00 p.m.
See pretrial notice at p. 8


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Copies of any charts, graphs, models, schematic       Provided to opposing counsel by
diagrams, and similar objects intended to be          July 7, 2021 at 5:00 p.m.
used in opening statements or closing
arguments
See pretrial notice at p. 7
Objections to any charts, graphs, models,             Filed by July 8, 2021 at 5:00
schematic diagrams, and similar objects               p.m.
intended to be used by opposing counsel in
opening statements or closing arguments
See pretrial notice at p. 7
Jury trial                                            July 12, 2021 at 9:00 a.m.
Whenever a case is settled or otherwise disposed      (estimated to last 4 days)
of, counsel must immediately inform the clerk's
office, judge to whom the case is allotted, and all
persons subpoenaed as witnesses. If a case is
settled as to fewer than all parties or all claims,
counsel must also identify the remaining parties
and unsettled claims.
See Local Rule 16.4


      New Orleans, Louisiana, this 7th day of June, 2021.


                                          ________________________________
                                                    SUSIE MORGAN
                                            UNITED STATES DISTRICT JUDGE




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